                    IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

            v.
                                                         Case No. 21-cr-117 (RCL)
RYAN TAYLOR NICHOLS,
                    Defendant,

                       SENTENCING MEMO’S EXHIBIT LIST



  A. DD214: Memorializing Ryan’s Honorable Discharge, Medals, and Service Ribbons

  B. Medical Records Showing PTSD (Redacted)

  C. 302 Form: Corroborates the fact that Ryan found out Ashli Babbitt was shot just before
     his speech on the ledge.

  D. December 2021, Bond Hearing Transcript Excerpts

  E. Excerpts from the Nation of Islam’s Final Call

  F. Mental Health Grievances

  G. Medical Records Obtained Via Freedom of Information Request and Corresponding IGPs

  H. 57 Letters in Support of Ryan Nichol’s Sentencing

  I. PSR Objections

  J. Video Montage in Support of Ryan Nichol’s Sentencing
